      Case 22-52950-pmb          Doc 125         Filed 07/25/22 Entered 07/25/22 14:27:19              Desc Blank
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                                    UNITED STATES BANKRUPTCY COURT

                                                Northern District of Georgia




In      Debtor(s)
Re:     Atlanta Light Bulbs, Inc.                             Case No.: 22−52950−pmb
        2109 Mountain Industrial Blvd                         Chapter: 7
        Tucker, GA 30084                                      Judge: Paul Baisier




              NOTICE OF MEETING OF CREDITORS AND PROOFS OF CLAIMS DEADLINE


This case was converted to Chapter 7 on 7/7/2022.

You are hereby notified that the meeting of creditors has been scheduled for August 16, 2022 at 10:00 AM. The
meeting will be telephonic. To attend, Dial: 8669097148 and enter: 4958999, when prompted for the participation
code.

The Trustee reports that funds may be available for distribution. Therefore, you are notified that, if you wish to
participate in any distribution which may be paid from the estate, you must file a proof of claim on or before:
10/24/2022

File claim with:
United States Bankruptcy Court
1340 United States Courthouse
75 Ted Turner Drive SW
Atlanta, GA 30303
To file electronically visit www.ganb.uscourts.gov and access the ePOC tab. To obtain a claim form (B410) visit
www.ganb.uscourts.gov and access the Forms tab.

The interim trustee assigned to this case is:
S. Gregory Hays
2964 Peachtree Road, NW
Suite 555
Atlanta, GA 30302−2153
Phone: (404)926−0051




                                                              M. Regina Thomas
                                                              Clerk of Court,
                                                              U.S. Bankruptcy Court

Dated: July 25, 2022

Form 300
